     8:18-cr-00750-DCC       Date Filed 01/16/19     Entry Number 41      Page 1 of 1




                         UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                             GREENWOOD DIVISION

UNITED STATES OF AMERICA                  )       CRIMINAL NUMBER 8:18-750-DCC
                                          )
              v.                          )
                                          )             ORDER
CHARLENE BRACH                            )


       This matter having come before the Court on motion of the United States for an

Order continuing the trial of this case until the January 2020 term of court.

       IT IS ORDERED: That the trial of this case is continued until January 2020. The

continuance is justified because on December 12, 2018, the defendant, CHARLENE

BRACH, signed a written Pretrial Diversion Agreement with the Government.               The

agreement was finalized on January 7, 2019. The Pretrial Diversion Agreement provides

that prosecution will be deferred by the attorney for the Government for a period of

eighteen (12) months for the purpose of allowing the defendant to demonstrate good

conduct. This period of delay is approved by the Court and is therefore excludable under

the provisions of Title 18, United States Code, Section 3161(h)(2) of the Speedy Trial Act

of 1974.




                                          s/ Donald C. Coggins Jr.
                                          DONALD C. COGGINS, JR.
                                          UNITED STATES DISTRICT JUDGE


January 16, 2019
Greenville, South Carolina


                                              1
